       Case 8:21-cv-01473-CJC-JDE Document 3 Filed 09/08/21 Page 1 of 1 Page ID #:1245
 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)                                                                            CLEAR FORM
 OR OF PARTY APPEARING IN PRO PER

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 ATTORNEY(S) FOR:

                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
                                                                               CASE NUMBER:
Core Optical Technologies, LLC

                                                              Plaintiff(s),
                                     v.
Acacia Communications, Inc.                                                                   CERTIFICATION AND NOTICE
                                                                                                OF INTERESTED PARTIES
                                                             Defendant(s)                           (Local Rule 7.1-1)

TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for                           Core Optical Technologies, LLC
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                      PARTY                                                               CONNECTION / INTEREST
Core Optical Technologies, LLC                                                Plaintiff




         September 8, 2021                                 /s/ Lawrence M. Hadley
         Date                                              Signature


                                                           Attorney of record for (or name of party appearing in pro per):

                                                           Core Optical Technologies, LLC



CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
